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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          § MAGISTRATE ACTION NO. C-08-459
                                             §
ADAN STALL                                   §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

         (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

         The evidence against the defendant meets the probable cause standard.         The

findings and conclusions contained in the Pretrial Services Report are adopted,

supplemented by the testimony of the defendant’s sister. The defendant is a resident

alien facing mandatory deportation to Mexico if convicted. He was raised in Mexico and

lived there until 1995, and still has significant family contacts there. He is facing a ten-

year minimum mandatory sentence if convicted. He is a poor bond risk.



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       The defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States marshal for the purpose of an appearance in connection

with a court proceeding.

       ORDERED this 3rd day of July, 2008.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




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